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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                    NORTHERN DIVISION

FREDERICK BERNARD MOORE                                                                    PLAINTIFF

v.                                  3:20-cv-00109-JM-JJV
BRENT COX, Administrator,
Greene County Detention Facility, et al.                                               DEFENDANTS


                                                 ORDER

        The Court has reviewed the Partial Recommendation submitted by United States

Magistrate Judge Joe J. Volpe. No objections have been filed, and the time to do so has passed.

After careful review, this Court adopts the Partial Recommendation in its entirety as its findings

in all respects.

        IT IS THEREFORE ORDERED that:

        1.         Plaintiff may proceed with his § 1983 inadequate medical care claim against

Defendants Burckett, Hopkins, Hillard, Roberts, and Does.

        2.         Plaintiff’s claims against Defendants Cox, Critttenden, Carter, Trowbridge,

Jhonson, Huggins, Glenn, Higgins, Franks, and Harris are DISMISSED WITHOUT PREJUDICE

for failure to state a claim upon which relief may be granted and these Defendants are DISMISSED

WITHOUT PREJUDICE as parties to this lawsuit.

        2.         It is certified, pursuant to 28 U.S.C. ' 1915(a)(3), that an in forma pauperis appeal

from this Order would not be taken in good faith.

        Dated this 4th day of August, 2020.


                                                               ________________________________
                                                               UNITED STATES DISTRICT JUDGE
